      Case 3:17-cv-02026-JBA Document 102 Filed 05/23/19 Page 1 of 4



                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                           )
                                         )   LEAD DOCKET NO.
     Plaintiff/Counterclaim Defendant,   )   3:17-CV-02026-JBA
                                         )   U.S.D.C./NEW HAVEN
     v.                                  )
                                         )   Judge Janet Bond Arterton
HENRY KURZ,                              )
                                         )
     Defendant/Counterclaimant.          )




   CONFIGAIR LLC’S RESPONSE TO MOTION TO ADJOURN DEPOSITIONS,
   SETTLEMENT CONFERENCE AND HEARING ON DISPOSITIVE MOTIONS
             Case 3:17-cv-02026-JBA Document 102 Filed 05/23/19 Page 2 of 4



           ConfigAir LLC, Daniel Naus, Nizwer Husain, and Dung Nguyen (collectively,

“ConfigAir”) respectfully submit this Response to the Motion to Adjourn Depositions,

Settlement Conference, and Hearing on Dispositive Motions (the “Motion to Adjourn”) [Dkt.

100], which Henry Kurz (“Kurz”) and Henry Kurz Consulting GmbH (“HKC”) filed shortly after

counsel of record for Kurz and HKC requested to withdraw from this lawsuit.

           In their Motion to Adjourn, Kurz and HKC request that this Court stay the proceedings

by at least 30 days due to their counsel’s recent Motion to Withdraw [Dkt. 93] and to give Kurz

and HKC time to obtain a third firm to represent them in this case.1 More specifically, Kurz and

HKC request that the Court postpone Kurz’s deposition, which is currently scheduled for June 3,

2019; postpone HKC’s deposition, which is currently scheduled for June 5, 2019; postpone the

June 4, 2019 settlement conference currently scheduled before Magistrate Judge Spector; and the

June 10, 2019 hearing on ConfigAir’s dispositive motions.

           ConfigAir does not oppose the Motion to Adjourn to the extent it requests a 30-day

continuance of HKC’s and Kurz’s depositions provided that HKC and Kurz appear for their

depositions in the first two weeks of July. Moreover, ConfigAir similarly does not oppose a

postponement of the settlement conference, especially since – aside from the recent

developments involving Kurz and HKC and their counsel – any meaningful settlement

conference will likely have to take place after the Court rules on the pending dispositive motions.

           ConfigAir, though, does oppose HKC’s and Kurz’s request to continue the hearing on

ConfigAir’s dispositive motions until a later date. This lawsuit was filed in December of 2017,

and these proceedings have already been substantially delayed once by the withdrawal of Kurz’s

first counsel of record in this case. Moreover, the dispositive motions that are set for oral

argument on June 10, 2019 have been fully briefed for months and are ripe for a decision.
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    Kurz’s and HKC’s current counsel previously replaced Kurz’s original counsel in this case.


                                                           1
         Case 3:17-cv-02026-JBA Document 102 Filed 05/23/19 Page 3 of 4



Deciding these motions will likely put an end to this litigation or substantially narrow the issues

before this Court. Thus, given that the motions are fully briefed, the further delay that the issues

between Kurz and HKC and their counsel will likely cause, and the impact that ruling on the

dispositive motions will likely have on the proceedings, ConfigAir respectfully requests that the

Court simply cancel the June 10, 2019 hearing and proceed with ruling on the pending

dispositive motions based on the written briefs.

       Accordingly, ConfigAir respectfully requests that, if the Motion to Adjourn is granted,

the Court (1) order that Kurz and HKC appear for their depositions by no later than July 12, 2019

and (2) forego oral argument on the pending dispositive motions and issue decisions as soon as

possible based on the written briefs currently before the Court.



Dated: May 23, 2019                                    Respectfully submitted,

                                                       /s/ Rebecca A. Brazzano
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                                                   2
         Case 3:17-cv-02026-JBA Document 102 Filed 05/23/19 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of May, 2019, a true copy of the foregoing

RESPONSE        TO    MOTION        TO     ADJUOURN         DEPOSITIONS,         SETTLEMENT

CONFERENCE AND HEARING ON DISPOSITIVE MOTIONS was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


                                             /s/ Rebecca A. Brazzano
                                             Rebecca A. Brazzano




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